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                       UNITED STATES DISTRICT COURT
                                            for the
                                  Western District of Kentucky
                                      Louisville Division

Reginald Green                         )
      Plaintiff                        )
                                       )
v.                                     )             Case No.        3:17-cv-00204-TBR
                                       )
ARS Account Resolution Services et al. )
     Defendants                        )
                                       )

            NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
             AS TO DEFENDANT GTE WIRELESS, INC. AS A GENERAL
                      PARTNER OF VERIZON WIRELESS

TO THE HONORABLE UNITED STATES DISTRICT COURT:

       Pursuant to Fed. R. Civ. P. 41 Plaintiff hereby gives notice that he is dismissing, without

prejudice, his claims against Defendant GTE Wireless, Inc. as a General Partner of Verizon

Wireless only. This Notice does not and is not intended to affect the Plaintiff’s claims against

any other party to this action.


                                              Submitted by:

                                              /s/ James H. Lawson
                                              James H. Lawson
                                              Lawson at Law, PLLC
                                              115 S. Sherrin Avenue, Suite 4
                                              Louisville, KY 40207
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                                              Counsel for Plaintiff
                                              Reginald Green
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                                 CERTIFICATE OF SERVICE

        This is to certify that I filed the foregoing Notice of Voluntary Dismissal via the Court’s
CM/ECF system on this 19th day of June, 2017, which will send a Notice of Electronic Filing to
the following counsel of record:

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        I also served a true copy of the foregoing Notice of Voluntary Dismissal via U.S. Mail on
the persons at the addresses set forth below this 19th day of June, 2017:

ARS Account Resolution Services
Assumed name for
Healthcare Revenue Recovery Group, LLC
c/o Corporation Service Company
421 W. Main Street
Frankfort, KY 40601


                                      /s/ James H. Lawson
                                      Counsel for Plaintiff
                                      Reginald Green
